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    In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

***************** ***
JOSEPH CORONA,           *                           No. 13-1019V
                         *                           Special Master Christian J. Moran
             Petitioner, *
v.                       *                           Filed: April 15, 2015
                         *
SECRETARY OF HEALTH      *                           Stipulation; Tetanus-Diphtheria-
AND HUMAN SERVICES,      *                           acellular Pertussis (“Tdap”) vaccine;
                         *                           Guillain-Barré Syndrome (“GBS”).
             Respondent. *
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F. John Caldwell, Maglio, Christopher & Toale, PA, Sarasota, FL, for Petitioner;
Justine Walters, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                              UNPUBLISHED DECISION1

       On April 14, 2015, respondent filed a joint stipulation concerning the
petition for compensation filed by Joseph Corona on December 26, 2013. In his
petition, Mr. Corona alleged that the Tetanus-Diphtheria-acellular Pertussis
(“Tdap”) vaccine, which is contained in the Vaccine Injury Table (the “Table”), 42
C.F.R. §100.3(a), and which he received on April 4, 2012, caused him to suffer
Guillain-Barré Syndrome (“GBS”). Petitioner represents that there has been no
prior award or settlement of a civil action for damages on his behalf as a result of
his condition.

      Respondent denies that the Tdap immunization caused petitioner’s GBS or
any other injury or his current condition.

     Nevertheless, the parties agree to the joint stipulation, attached hereto as
“Appendix A.” The undersigned finds said stipulation reasonable and adopts it as

       1
         The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the party has 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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the decision of the Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       A lump sum of $100,000.00 in the form of a check payable to petitioner,
       Joseph Corona. This amount represents compensation for all damages
       that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 13-1019V according to this decision
and the attached stipulation.2

     Any questions may be directed to my law clerk, Christina Gervasi, at (202)
357-6360.

       IT IS SO ORDERED.

                                                     s/ Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




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          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

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